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               BEFORE THE UNITED STATES JUDICIAL PANEL
                    ON MULTIDISTRICT LITIGATION



IN RE: SHALE OIL ANTITRUST               MDL NO. 3119
LITIGATION



               AMENDED SCHEDULE OF RELATED ACTIONS




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                       Case Caption                                Court                 Case No.           Judge
Plaintiffs: Matthew E. Foos, Andrew A. Hund, Michael B.        District   of 1:24-cv-00361-MLG-LF    Judge Matthew L.
Ackerman, Jarrod Johnson, and Mackey and Sons Inc.             New Mexico                            Garcia
v.                                                             (Albuquerque)
Defendants: Permian Resources Corp., Chesapeake Energy
Corporation, Continental Resources Inc., Diamondback Energy,
Inc., EOG Resources, Inc., Hess Corporation, Occidental
Petroleum Corporation, Pioneer Natural Resources Company
Plaintiffs: Patrick Brown, Abraham Drucker, Christopher        District   of 1:24-cv-00430-KK        Magistrate    Judge
Gallant, Steven Price                                          New Mexico                            Laura Fashing
v.                                                             (Albuquerque)
Defendants: Permian Resources Corp., Chesapeake Energy
Corporation, Continental Resources Inc., Diamondback Energy,
Inc., EOG Resources, Inc., Hess Corporation, Occidental
Petroleum Corporation, Pioneer Natural Resources Company
Plaintiffs: Daniel Rosenbaum, Reneldo Rodriguez, Thomas        District of   2:24-cv-00103-MMD-MDC   Chief Judge Miranda
Caron, Andrew Caplen Installations, LLC, These Paws Were       Nevada (Las                           M. Du
Made for Walkin’ LLC, Edward Allergretti, Barbara MacDowell,   Vegas)
Richard Macdowell, Laurie Olsen Santillo, Richard Beaumont
v.
Defendants: Permian Resources Corp., Chesapeake Energy
Corporation, Continental Resources Inc., Diamondback Energy,
Inc., EOG Resources, Inc., Hess Corporation, Occidental
Petroleum Corporation, Pioneer Natural Resources Company
Plaintiff: John Mellor                                         District of 2:24-cv-00253-MMD-MDC     Chief Judge Miranda
v.                                                             Nevada (Las                           M. Du
Defendants: Permian Resources Corp., Chesapeake Energy         Vegas)
Corporation, Continental Resources Inc., Diamondback Energy,
Inc., EOG Resources, Inc., Hess Corporation, Occidental
Petroleum Corporation, Pioneer Natural Resources Company

Interested Parties: Daniel Rosenbaum, Reneldo Rodriguez,
Thomas Caron, Brian Courtmanche, Laura J. Faber, Patricia
Mancieri, David Silber, Josselyn’s Getaway Log Cabins, LLC
Plaintiffs: Barbara MacDowell, Phillip MacDowell           District of 2:24-cv-00325-MMD-MDC         Chief Judge Miranda
v.                                                         Nevada (Las                               M. Du
                            Case MDL No. 3119 Document 7 Filed 05/16/24 Page 3 of 5


Defendants: Permian Resources Corp., Chesapeake Energy Vegas)
Corporation, Continental Resources Inc., Diamondback Energy,
Inc., EOG Resources, Inc., Hess Corporation, Occidental
Petroleum Corporation, Pioneer Natural Resources Company
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Dated: May 16, 2024                         Respectfully submitted,

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